
ON CONFESSION OF ERROR
PER CURIAM.
Pursuant to Appellees’ Confession of Error, we' reverse the trial court’s April 13, 2015, Final Judgment and remand the matter to the lower tribunal for further proceedings. Appellant’s Motion to Tax Attorney’s Fees is provisionally granted should Appellant ultimately be determined to be the prevailing party below. If so determined, the lower court shall determine and assess reasonable attorney’s fees for this appéllate court proceeding. See Fla. R. App. P. 9.400(a) &amp; (b).
REVERSED and REMANDED.
LAWSON, C.J., SAWAYA, and EDWARDS, J.J., concur.
